                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF VIRGINIA
                                  DANVILLE DIVISION

                            CRIMINAL MINUTES – JURY TRIAL
                                              Day 18

   Case No.: 4:18CR00011-001                                              Date: 11/12/2019


   Defendant: Marcus J. Davis, custody                 Counsel: Tony Anderson, Bev Davis,
                                                       Melissa Friedman - CJA



   PRESENT:      JUDGE:                Michael F. Urbanski, CUSDJ
                 TIME IN COURT:        8:59-9:02; 11:33-11:48; 2:34-2:44; 3:00-3:18; 3:37-3:50;
                                                        4:02-4:09 1h 6m
                 Deputy Clerk:         Kristin Ayersman
                 Court Reporter:       Judy Webb
                 U. S. Attorney:       Heather Carlton, Ron Huber, Rachel Swartz
                 USPO:                 none
                 Case Agent:           Devin Taylor, FBI TFO
                 Interpreter:          none


                                      LIST OF WITNESSES

       GOVERNMENT                                      DEFENDANT
     1.                                           1.




   PROCEEDINGS:
        Jury returns to courtroom 9:01 for instruction and retires to deliberate at 9:02. Jury
        question #2 passed out at 11:29, reconvene 11:33. Court addresses note with parties. US
        responds. Dft responds. Court finalizes response to question. Jury returns 11:45. Court
        addresses jurors. Jury returns to deliberate 11:48. Jury question #3 passed out at 2pm,
        Court gives parties time to review and respond. Reconvene 2:34. Court addresses parties
        re communication. US did notice verbiage but did not object at the time, suggests
        response. Dft responds. Recess 2:44. Reconvene 3:00. Court asks if any more
        argument – US responds. Dft responds. Court addresses parties – will give additional
        instruction re transfer of intent. Court will ask jury to clarify question that they are
        asking. Jury returns 3:08. Court address specific question; foreperson explains. Jury
        returns to deliberation 3:10. US appellate division sent US counsel email re case




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          law/transfer of intent, and will share with counsel – reads into record. Court gives parties
          an instruction to review – court will give transfer of intent instruction. Court will recess
          until 3:30 to allow parties to review case law, juror question. No obj to procedure
          outlined; dft obj to additional instruction. Recess 3:18 Reconvene 3:37. Court addresses
          objections to instruction court sent out. US responds; proposes wording. Dft responds.
          Court states the instruction it will give to jury re transferred intent; notes objection from
          dft to additional instruction and no obj from US. Jury returns 3:48, court gives additional
          instruction to jury. Jury excused to continue deliberation 3:50. Jury question #4 passed
          out 3:59 – verdict ready. Jury returns 4:02.
          Jury returns at 4:02.
          Jury Verdict: guilty Cts 1, 11, 12, 13.
                  Jury polled.                             Polling waived.
                  Mistrial declared.                       Jury discharged.

          Motions after verdict – Dft asks for 14 days to file renewed Rule 29 motion.
          Sentencing set for ______..
          Sentencing to be set by Clerk.
          Court orders Presentence Report.
          Defendant remanded to custody.
          Defendant to remain on bond.


   Additional Information:
   Court adjourned 4:09




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